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                            UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                    PORTLAND DIVISION


 RICK YOUNG,                                                             Case No. 3:22-cv-688

                       Plaintiff,
                                                                 COMPLAINT FOR PATENT
                v.                                                      INFRINGEMENT

 LEUPOLD & STEVENS, INC., an
 Oregon corporation,
                                                                DEMAND FOR JURY TRIAL
                       Defendant.



                                        COMPLAINT

       The Plaintiff, Rick Young, an Oregon resident (“Plaintiff”), for his Complaint of patent

infringement against Leupold & Stevens, Inc. (“Leupold”), states as follows:

                                      INTRODUCTION

1.     This action is based upon patent infringement.

                                       THE PARTIES

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2.     Plaintiff Rick Young is an individual inventor and patent owner residing in Boring, Oregon.

3.     Rick Young invents, designs, makes, and sells outdoor products, including binocular

accessories, such as harnesses.

4.     Upon information and belief, defendant Leupold is an Oregon Corporation having a

principal place of business at 14400 NW Greenbrier Parkway, Beaverton Oregon 97006.

                                  JURISDICTION AND VENUE

5.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1331 and 1338

because there are Federal questions arising under the patent laws of the United States.

6.     This Court also has personal jurisdiction over Defendant and venue is proper under at least

28 U.S.C. § 1391(c).

                                        BACKGROUND

7.     Rick Young invented a new, improved harness system for binoculars, filed a U.S.

provisional patent application in 2015, and filed a U.S. non-provisional patent application (“the

patent application”) in 2016, both with the U.S. Patent and Trademark Office (USPTO), on the

system and a method for use.

8.     The USPTO examined the patent application and issued to Rick Young on November 15,

2016, U.S. Patent No. 9,492,004 (“the ‘004 Patent”), entitled Lightweight Suspension Harness

System for Binoculars and Method of Use. Attached as Exhibit A is a true and correct copy of the

‘004 Patent.

9.     In 2020, Rick Young paid the first maintenance fee for the ‘004 patent.

10.    Rick Young has sold and currently sells Ultra-Light Bino Harnesses covered by the ‘004

patent. Attached as Exhibit B are photos of examples of the Ultra-Light Bino Harnesses.




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11.      Rick Young has marked and currently marks the packaging for the Ultra-Light Bino

Harnesses with a patent notice.

12.      Defendant has sold and currently sells, and distributes for others to sell, binoculars with

harnesses that copy Rick Young’s patented harnesses, including at least Defendant’s BX-T HD

10X42MM MIL-L binoculars and the BX-T Tactical 42MM binoculars (“the Accused Products”).

See Exhibit C.

13.      On information and belief, Defendant was aware, prior to selling the Accused Products, of

Rick Young’s Ultra-Light Bino Harness and the ‘004 Patent.

                           COUNT FOR PATENT INFRINGEMENT

14.      Rick Young incorporates by reference all preceding paragraphs.

15.      This count is for patent infringement arising under 35 U.S.C. § 271.

16.      Upon information and belief, Defendant has, without permission from Rick Young, made,

used, offered for sale, imported and/or sold the Accused products in the U.S.

17.      Upon information and belief, the Accused Products infringe the ‘004 Patent under 35 U.S.C.

§ 271(a) by either infringing literally or under the Doctrine of Equivalents at least claim 1 of the ‘004

Patent. The Accused Products infringe at least claim 1 of the ‘004 patent because they meet every

limitation of at least claim 1, literally or under the Doctrine of Equivalents.

18.      On information and belief, Defendant’s infringement is willful and will continue unless

enjoined by this Court. Defendant’s acts have caused, and are causing irreparable damage to Rick

Young.

19.      Rick Young has no adequate remedy at law.

         WHEREFORE, Plaintiff prays that the Court rules:

a)       The Accused Products infringe the ‘004 Patent;



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b)     Defendant committed its infringing acts willfully;

c)     Rick Young is awarded damages and enhanced damages for Defendants’ willful patent

infringement;

d)     Defendant is preliminarily and permanently enjoined from infringing the ‘004 Patent;

e)     Rick Young is awarded his attorneys’ fees and costs for Defendant’s patent infringement;

and

f)     Rick Young is granted such other relief as the Court may deem just and proper.

                                       JURY DEMAND

       Rick Young demands a trial by jury on all issues properly tried before a jury.

                                                    Respectfully submitted,

Dated: May 10, 2022                                 ___/s/ David P. Cooper_________
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